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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                    )   Chapter 11
    In re:                                                          )
                                                                    )   Case No. 22-90168 (MI)
    CINEWORLD GROUP PLC, et al.,1                                   )
                                                                    )   (Jointly Administered)
                                      Debtors.                      )
                                                                    )   Re: Docket No. _____

                        ORDER (I) SHORTENING THE CLAIMS
             BAR DATE, (II) RE-ESTABLISHING THE GOVERNMENTAL
            BAR DATE, (III) ESTABLISHING THE REJECTION DAMAGES
       BAR DATE AND THE AMENDED SCHEDULES BAR DATE, (IV) APPROVING
      THE FORM OF AND MANNER FOR FILING PROOFS OF CLAIM, INCLUDING
      SECTION 503(b)(9) REQUESTS, AND (V) APPROVING NOTICE OF BAR DATES
             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Bar Date Order”) (a) shortening the Claims

Bar Date, (b) re-establishing the Governmental Bar Date, (c) establishing the Amended Schedules

Bar Date and the Rejection Damages Bar Date, (d) approving the form and manner for filing such

claims, including any requests for payment under section 503(b)(9) of the Bankruptcy Code, and

(e) approving notice of the Bar Dates (each as defined herein); and upon the First Day Declarations;

and this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this Court

having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b); and this Court having

found that it may enter a final order consistent with Article III of the United States Constitution;

and this Court having found that venue of this proceeding and the Motion in this district is proper




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.ra.kroll.com/cineworld. The location of Debtor Cineworld
      Group plc’s principal place of business and the Debtors’ service address in these chapter 11 cases is: 8th Floor
      Vantage London, Great West Road, Brentford, England, TW8 9AG, United Kingdom.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in

the Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in

interest; and this Court having found that the Debtors’ notice of the Motion and opportunity for a

hearing on the Motion were appropriate under the circumstances and no other notice need be

provided; and this Court having reviewed the Motion and having heard the statements in support

of the relief requested therein at a hearing before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion and at the Hearing establish just

cause for the relief granted herein; and upon all of the proceedings had before this Court; and after

due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

II.       The Bar Dates and Procedures for Filing Proofs of Claim.

          1.       Each entity3 that asserts a claim against any of the Debtors that arose before the

Petition Date, including requests for payment under section 503(b)(9) of the Bankruptcy Code,

shall be required to file an original, written proof of claim (a “Proof of Claim”), substantially in

the form attached hereto as Exhibit 1 (the “Proof of Claim Form”) or Official Form 410.4 Except

in the cases of governmental units and certain other exceptions explicitly set forth herein, all

Proofs of Claim must be filed so that they are actually received on or before Wednesday,

December 28, 2022, at 5:00 p.m., prevailing Central Time (the “Claims Bar Date”), at the



3     Except as otherwise defined herein and in the Motion, all terms specifically defined in the Bankruptcy Code shall
      have those meanings ascribed to them by the Bankruptcy Code. In particular, as used herein: (a) the term “claim”
      has the meaning given to it in section 101(5) of the Bankruptcy Code; (b) the term “entity” (including individuals,
      partnerships, corporations, joint ventures, and trusts) has the meaning given to it in section 101(15) of the
      Bankruptcy Code; (c) the term “governmental unit” has the meaning given to it in section 101(27) of the
      Bankruptcy Code; and (d) the term “person” has the meaning given to it in section 101(41) of the Bankruptcy
      Code.

4     Copies of Official Form 410 may be obtained by: (a) calling the Debtors’ restructuring hotline at (844) 648-5574
      (Toll Free U.S.); or (845) 295-5075 (Non-U.S. Parties); (b) visiting the Debtors’ restructuring website at
      https://cases.ra.kroll.com/cineworld; and/or (c) visiting the website maintained by the Court at
      http://www.txs.uscourts.gov/bankruptcy.



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addresses and in the form set forth herein. The Claims Bar Date applies to all types of claims

against any of the Debtors that arose or are deemed to have arisen before the Petition Date, except

for claims specifically exempt from complying with the applicable Bar Dates (as defined herein)

as set forth in the Motion or this Bar Date Order.

        2.     Each employee and former employee of the Debtors and their non-Debtor affiliates

that asserts a claim against the Debtors that arose before the Petition Date is authorized to file a

Proof of Claim that redacts personally identifiable information with the Debtors’ Claims and

Noticing Agent; provided that an unredacted Proof of Claim shall be provided upon request by the

Debtors.

        3.     The Debtors are authorized to take reasonable action to prevent employees’ and

former employees’ personally identifiable information from being publicly available on the claims

register.

        4.     All governmental units holding claims (whether secured, unsecured priority, or

unsecured non-priority) that arose (or are deemed to have arisen) prior to the Petition Date,

including requests for payment pursuant to section 503(b)(9) of the Bankruptcy Code, must file

Proofs of Claims, including claims for unpaid taxes, whether such claims arise from prepetition

tax years or periods or prepetition transactions to which any of the Debtors were a party, so they

are actually received on or before Monday, March 6, 2023, at 5:00 p.m., prevailing Central Time

(the “Governmental Bar Date”), at the address and in the form set forth herein.

        5.     Unless otherwise ordered, all entities asserting claims arising from the Debtors’

rejection of executory contracts and unexpired leases shall file a Proof of Claim on account of such

rejection by the later of (a) the Claims Bar Date or the Governmental Bar Date, as applicable, and

(b) 5:00 p.m., prevailing Central Time, on the date that is thirty (30) days following entry of the




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order approving the Debtors’ rejection of the applicable executory contract or unexpired lease

(the “Rejection Damages Bar Date”).

        6.     If any of the Debtors amend the Schedules after having given notice of the Bar

Dates (as defined herein), the applicable Debtor shall give notice by first-class mail of any

amendment to holders of claims affected thereby, and, except for entities that are exempt from

complying with the applicable Bar Dates, as set forth in this Bar Date Order, the last date and time

for those holders to file Proofs of Claim, if necessary, shall be the later of (a) the Claims Bar Date

or the Governmental Bar Date, as applicable, and (b) 5:00 p.m., prevailing Central Time, on the

date that is thirty (30) days from the date the notice of the Schedule amendment is mailed

(the “Amended Schedules Bar Date,” and together with the Claims Bar Date, the Governmental

Bar Date, and the Rejection Damages Bar Date, the “Bar Dates”).

        7.     All Proofs of Claim must be filed or submitted so as to be actually received by the

Claims and Noticing Agent on or before the applicable Bar Date. If Proofs of Claim are not

received by the Claims and Noticing Agent on or before the applicable Bar Date, the holders of

the underlying claims shall be barred from asserting such claims against the Debtors and precluded

from voting on any plans of reorganization filed in these chapter 11 cases and/or receiving

distributions from the applicable Debtor on account of such claims in these chapter 11 cases.

        8.     The Bar Dates established by this Bar Date Order supersede any bar dates

established, filed, noticed, or previously served in these chapter 11 cases.

III.    Parties Required to File Proofs of Claim.

        9.     The following categories of claimants, in the capacities described below, shall be

required to file a Proof of Claim by the Bar Date:

               a.      any entity whose claim against a Debtor is not listed in the applicable
                       Debtor’s Schedules or is listed as contingent, unliquidated, or disputed if



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                      such entity desires to participate in any of these chapter 11 cases or share in
                      any distribution in any of these chapter 11 cases;

               b.     any entity who believes that its claim is improperly classified in the
                      Schedules or is listed in an incorrect amount and who desires to have its
                      claim allowed in a different classification or amount other than that
                      identified in the Schedules;

               c.     any former or present full-time, part-time, salaried, or hourly employees
                      whose claims relates to any grievance, including claims for wrongful
                      termination, discrimination, harassment, hostile work environment,
                      retaliation, and/or unpaid severance, to the extent grounds for such
                      grievances arose on or prior to the Petition Date; provided that current
                      employees of the Debtors are not required to file a Proof of Claim for wages,
                      commissions, benefits, or severance if an order of the Court authorized the
                      Debtors to honor such claim in the ordinary course of business;

               d.     any entity that believes that its prepetition claim as listed in the Schedules
                      is not an obligation of the specific Debtor against which the claim is listed
                      and that desires to have its claim allowed against a Debtor other than that
                      identified in the Schedules; and

               e.     any entity who believes that its claim against a Debtor is or may be an
                      administrative expense pursuant to section 503(b)(9) of the Bankruptcy
                      Code.

       10.     Wilmington Trust, National Association, as administrative agent under the

Settlement Credit Agreement, is authorized to file a single Proof of Claim pursuant to

section 501(a) of the Bankruptcy Code before the Claims Bar Date on behalf of individual lenders

under the Settlement Credit Agreement on account of such lenders’ claims for the payment of

principal, interest, and/or other applicable fees and charges arising under the Settlement Facility

and BNY Mellon Corporate Trustee Services Limited, as trustee under the Trust Deed with respect

to the Convertible Bonds, is authorized to file a single Proof of Claim pursuant to section 501(a)

of the Bankruptcy Code before the Claims Bar Date on behalf of individual bondholders under the




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Trust Deed on account of such bondholders’ claims for the payment of principal, interest, and/or

other applicable fees and charges arising under the Trust Deed.

IV.    Parties Exempted from the Bar Date.

       11.     The following categories of claimants, in the capacities described below, shall not

be required to file a Proof of Claim by the Bar Date:

               a.     the U.S. Trustee, on account of claims for fees payable pursuant to
                      28 U.S.C. § 1930;

               b.     any entity that already has filed a signed Proof of Claim against the
                      applicable Debtor with the Claims and Noticing Agent in a form
                      substantially similar to Official Form 410 with respect to the claim asserted
                      therein;

               c.     any entity whose claim is listed on the Schedules if: (i) the claim is not
                      scheduled by the Debtors as any of “disputed,” “contingent,” or
                      “unliquidated;” (ii) such entity agrees with the amount, nature, and priority
                      of the claim as set forth in the Schedules; and (iii) such entity does not
                      dispute that its claim is an obligation only of the specific Debtor against
                      which the claim is listed in the Schedules;

               d.     any entity whose claim has previously been allowed by a final order of
                      the Court;

               e.     any Debtor having a claim against another Debtor, or any claim by a
                      non-Debtor subsidiary (whether direct or indirect and whether wholly
                      owned or not) of Cineworld Group plc against any of the Debtors;

               f.     any entity whose claim is solely against any non-Debtor affiliates;

               g.     any entity whose claim has been paid by a Debtor pursuant to a Court order;

               h.     a current employee of the Debtors, if an order of the Court authorized the
                      Debtors to honor such claim in the ordinary course of business as a wage,
                      commission, or benefit; provided that a current employee must submit a
                      Proof of Claim by the Claims Bar Date for all other claims arising before
                      the Petition Date, including claims for wrongful termination,
                      discrimination, harassment, hostile work environment, and/or retaliation;

               i.     any current or former officer, manager, director, or employee for claims
                      based on indemnification, contribution, or reimbursement;

               j.     any entity holding a claim for which a separate deadline is fixed by
                      the Court;


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              k.     any entity holding a claim allowable under sections 503(b) and 507(a)(2) of
                     the Bankruptcy Code as an expense of administration incurred in the
                     ordinary course, provided that any entity asserting a claim entitled to
                     priority under section 503(b)(9) of the Bankruptcy Code must assert such
                     claims by filing a request for payment or a Proof of Claim on or prior to the
                     Claims Bar Date;

              l.     any person or entity that is exempt from filing a Proof of Claim pursuant to
                     an order of the Court in these Chapter 11 Cases, including, without
                     limitation, pursuant to the Interim Order (I) Authorizing the Debtors to
                     (A) Obtain Postpetition Financing and (B) Use Cash Collateral,
                     (II) Granting Liens and Providing Superpriority Administrative Expense
                     Claims, (III) Granting Adequate Protection to Prepetition Secured Parties,
                     (IV) Modifying the Automatic Stay, (V) Scheduling a Final Hearing, and
                     (VI) Granting Related Relief [Docket No. 173] (together with any
                     subsequent interim or final order approving the use of cash collateral and/or
                     postpetition financing, the “DIP Order”);

              m.     any holder of a claim for any fees, expenses, or other obligations arising or
                     payable under the DIP Order; and

              n.     any entity holding an equity interest in any Debtor.

V.     Substantive Requirements of Proofs of Claim.

       12.    The following requirements shall apply with respect to filing and preparing each

Proof of Claim:

              a.     Contents. Each Proof of Claim must: (i) be written in legible English;
                     (ii) include a claim amount denominated in United States dollars;
                     (iii) conform substantially with the Proof of Claim Form provided by the
                     Debtors or Official Form 410; and (iv) be signed by the claimant or by an
                     authorized agent or legal representative of the claimant on behalf of the
                     claimant, whether such signature is an electronic signature or is ink.

              b.     Section 503(b)(9) Claim. Any Proof of Claim asserting a claim entitled to
                     priority under section 503(b)(9) of the Bankruptcy Code must also:
                     (i) include the value of the goods delivered to and received by the Debtors
                     in the twenty (20) days prior to the Petition Date; (ii) attach any
                     documentation identifying the particular invoices for which such claim is
                     being asserted; and (iii) attach documentation of any reclamation demand
                     made to the Debtors under section 546(c) of the Bankruptcy Code (if
                     applicable).

              c.     Electronic Signatures Permitted. Only original Proofs of Claim signed
                     electronically or in ink by the claimant or an authorized agent or legal



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            representative of the claimant may be deemed acceptable for purposes of
            claims administration. Copies of Proofs of Claim, or Proofs of Claim sent
            by facsimile or electronic mail, will not be accepted.

      d.    Identification of the Debtor Entity. Each Proof of Claim must clearly
            identify the specific Debtor against which a claim is asserted, including the
            individual Debtor’s case number. A Proof of Claim filed under the joint
            administration case number (No. 22-90168 (MI)), or otherwise without
            identifying a specific Debtor, will be deemed as filed only against Regal
            Cinemas, Inc.

      e.    Claim Against Multiple Debtor Entities. Each Proof of Claim must state a
            claim against only one Debtor and clearly indicate the Debtor against which
            the claim is asserted. To the extent more than one Debtor is listed on the
            Proof of Claim, such claim may be treated as if filed only against Regal
            Cinemas, Inc.

      f.    Supporting Documentation in Order to Have Prima Facie Validity. In
            order to have prima facie validity, each claim of a type specified in
            Bankruptcy Rules 3001(c) and 3001(d) must include supporting
            documentation. If, however, such documentation is voluminous, such Proof
            of Claim may include a summary of such documentation or an explanation
            as to why such documentation is not available; provided that (i) the Proof
            of Claim contain current contact information for the creditor or its
            designated representative from whom the Debtors may request the full
            supporting documentation and (ii) such party must produce the supporting
            documentation to the Debtors’ counsel upon request no later than ten (10)
            days from the date of such request.

      g.    Timely Service. Each Proof of Claim must be filed or submitted, including
            supporting documentation, through any of the following methods:
            (i) electronic submission through PACER (Public Access to Court
            Electronic Records at https://ecf.txsb.uscourts.gov/), (ii) electronic
            submission using the interface available on the Claims and Noticing
            Agent’s website at https://cases.ra.kroll.com/cineworld, or (iii) if submitted
            through non-electronic means, by U.S. mail or other hand delivery system,
            so as to be actually received by the Claims and Noticing Agent on or before
            the Claims Bar Date, the Governmental Bar Date, or other applicable Bar
            Date, as applicable, at the following address:

                   If by First-Class Mail Hand Delivery or Overnight Mail:
                         Cineworld Group plc Claims Processing Center
                           c/o Kroll Restructuring Administration LLC
                                    850 3rd Avenue, Suite 412
                                      Brooklyn, NY 11232




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                              PROOFS OF CLAIM SUBMITTED BY FACSIMILE OR
                                ELECTRONIC MAIL WILL NOT BE ACCEPTED.

               h.      Receipt of Service. Claimants submitting a Proof of Claim through
                       non-electronic means wishing to receive acknowledgment that their Proofs
                       of Claim were received by the Claims and Noticing Agent must submit (i) a
                       copy of the Proof of Claim Form (in addition to the original Proof of Claim
                       Form sent to the Claims and Noticing Agent) and (ii) a self-addressed,
                       stamped envelope.

        13.    Notwithstanding anything to the contrary, the requirements for any Proof of Claim

to be filed by the DIP Agent, the other DIP Secured Parties, or the Prepetition Secured Parties

(each as defined in the DIP Order) shall be governed by the terms of the DIP Order.

VI.     Identification of Known Creditors.

        14.    The Debtors shall mail notice of the Claims Bar Date (or the Governmental Bar

Date, as applicable) only to their known creditors, and such mailing shall be made to the last known

mailing address for each such creditor, as reflected in the Debtors’ books and records at such time.

VII.    Procedures for Providing Notice of the Bar Date.

        A.     Mailing of Bar Date Notices.

        15.    The Debtors shall cause a written notice of the Bar Date Package to be served via

email, facsimile, or first-class mail within four (4) business days after the date of the entry of this

Order, substantially in the form attached hereto as Exhibit 2 (the “Bar Date Notice”), and a Proof

of Claim Form (collectively, the “Bar Date Package”) to be mailed via first-class mail to the

following entities:

               a.      the U.S. Trustee for the Southern District of Texas;

               b.      the entities listed as holding the 30 largest unsecured claims against the
                       Debtors (on a consolidated basis);

               c.      Arnold & Porter Kaye Scholer LLP, as counsel to the DIP Lenders;

               d.      counsel to the Committee;



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              e.      all creditors and other known holders of claims against the Debtors as of the
                      date of entry of the Bar Date Order, including all entities listed in the
                      Schedules as holding claims against the Debtors;

              f.      all entities that have requested notice of the proceedings in these chapter 11
                      cases pursuant to Bankruptcy Rule 2002 as of entry of the date of the Bar
                      Date Order;

              g.      all entities that have filed Proofs of Claim in these chapter 11 cases as of
                      the date of entry of the Bar Date Order;

              h.      all known non-Debtor equity and interest holders of the Debtors as of the
                      date of entry of the Bar Date Order;

              i.      all entities who are party to executory contracts and unexpired leases with
                      the Debtors;

              j.      all entities who are party to active litigation with the Debtors;

              k.      all current and former employees (to the extent that contact information for
                      former employees is available in the Debtors’ records);

              l.      all regulatory authorities that regulate the Debtors’ businesses;

              m.      the Office of the Attorney General for the State of Texas and each of the
                      states in which the Debtors conduct business;

              n.      the District Director of the Internal Revenue Service for the Southern
                      District of Texas;

              o.      all other taxing authorities for the jurisdictions in which the Debtors
                      maintain or conduct business;

              b.      all other entities listed on the Debtors’ matrix of creditors;

              p.      the United States Securities and Exchange Commission; and

              q.      the Office of the United States Attorney for the Southern District of Texas.

       16.    The Debtors shall provide all known creditors listed in the Debtors’ Schedules with

a personalized Proof of Claim Form, which will set forth: (a) the identity of the Debtor against

which the creditor’s claim is scheduled; (b) the amount of the scheduled claim, if any; and

(c) whether the claim is listed as secured, unsecured priority, or unsecured non-priority.

The Debtors’ creditors that are listed in the Debtors’ Schedules as contingent, unliquidated, or


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disputed shall receive a non-personalized Proof of Claim Form. Each creditor shall have an

opportunity to inspect the Proof of Claim Form provided by the Debtors and correct any

information that is missing, incorrect, or incomplete. Any creditor may choose to submit a Proof

of Claim on a different form as long as it is substantially similar to Official Form 410.

       B. Supplemental Mailings.

       17.     After the initial mailing of the Bar Date Packages, the Debtors may, in their

discretion, make supplemental mailings of notices or packages, including in the event that:

(a) notices are returned by the post office with forwarding addresses; (b) certain parties acting on

behalf of parties in interest decline to pass along notices to these parties and instead return their

names and addresses to the Debtors for direct mailing, and (c) additional potential claimants

become known as the result of the Bar Date mailing process. In this regard, the Debtors may make

supplemental mailings of the Bar Date Package in these and similar circumstances at any time up

to fourteen days in advance of the applicable Bar Date, with any such mailings being deemed

timely and such Bar Date being applicable to the recipient creditors.

       C.      Publication of Bar Date Notice.

       18.     The Debtors shall cause notice of the Claims Bar Date and the Governmental Bar

Date to be given by publication to creditors to whom notice by mail is impracticable, including

creditors who are unknown or not reasonably ascertainable by the Debtors and creditors whose

identities are known but whose addresses are unknown by the Debtors. Specifically, the Debtors

shall cause the Bar Date Notice to be published as soon as reasonably practicable after entry of the

Bar Date Order, modified for publication in substantially the form attached hereto as Exhibit 3

(the “Publication Notice”), on one occasion in the national edition of The New York Times and the

Financial Times (global edition), and any such other local publications that the Debtors deem

appropriate and disclose in the Claims and Noticing Agent’s affidavit of service.


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         19.   Notice of the Bar Dates as set forth in this Bar Date Order and in the manner set

forth herein (including, but not limited to, the Bar Date Notice, the Publication Notice, and any

supplemental notices that the Debtors may send from time to time) constitutes adequate and

sufficient notice of each of the Bar Dates and satisfies the requirements of the Bankruptcy Code,

the Bankruptcy Rules, and the Bankruptcy Local Rules.

VIII. Consequences of Failure to File a Proof of Claim.

         20.   Any person or entity that is required, but fails, to file a Proof of Claim in accordance

with the Bar Date Order on or before the applicable Bar Date shall be forever barred, estopped,

and enjoined from asserting such claim against the Debtors and their chapter 11 estates (or filing

a Proof of Claim with respect thereto) and the Debtors and their property and estates shall be

forever discharged from any and all indebtedness or liability with respect to or arising from such

claim. Without limiting the foregoing sentence, any creditor asserting a claim entitled to priority

pursuant to section 503(b)(9) of the Bankruptcy Code that fails to file a Proof of Claim in

accordance with this Bar Date Order shall not be entitled to any priority treatment on account of

such claim pursuant to section 503(b)(9) of the Bankruptcy Code, regardless of whether such claim

is identified on the Schedules as not contingent, not disputed, and liquidated. Such person or entity

shall not be treated as a creditor with respect to such claim for any purpose in these chapter 11

cases.

         21.   Any such entity that is required, but fails, to file a Proof of Claim in accordance

with the Bar Date Order on or before the applicable Bar Date shall be prohibited from voting to

accept or reject any chapter 11 plan filed in these chapter 11 cases, participating in any distribution

in these chapter 11 cases on account of such claim, or receiving further notices regarding such

claim.




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IX.    Miscellaneous.

       22.     The Debtors are authorized to take all actions necessary or appropriate to effectuate

the relief granted pursuant to this Bar Date Order in accordance with the Motion.

       23.     The terms and conditions of this Bar Date Order shall be immediately effective and

enforceable upon entry of the Bar Date Order.

       24.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy Local Rules

are satisfied by such notice.

       25.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Bar Date Order.

 Dated: ___________, 2022

                                                  MARVIN ISGUR
                                                  UNITED STATES BANKRUPTCY JUDGE




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                              Exhibit 1

                         Proof of Claim Form
UNITED STATES BANKRUPTCY COURT FOR THE SOUTHERN DISTRICT OF TEXAS (HOUSTON DIVISION)
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                      Fill in this information to identify the case (Select only one Debtor per claim form):
     Cineworld Group plc               13th Avenue Partners, L.L.C.           A 3 Theatres of San Antonio,        A 3 Theatres of Texas, Inc.
      (Case No. 22-90168)                 (Case No. 22-90172)                     Ltd. (Case No. 22-90167)            (Case No. 22-90176)
    Augustus 1 Limited                 Augustus 2 Limited                     Basildon Cinema 2 Limited           Basildon Cinema Number Two
     (Case No. 22-90245)                  (Case No. 22-90247)                    (Case No. 22-90252)                   2 Limited (Case No. 22-90249)
    Bromley Cinema 2 Limited           Busby AssignCo, LLC                    Cinebarre, LLC                      Cinemas Associates, LLC
     (Case 22-90250)                     (Case No. 22-90170)                     (Case No. 22-90169)                  (Case No. 22-90171)
    Cine-UK Limited                    Cineworld Cinema Properties            Cineworld Cinemas Holdings          Cineworld Cinemas Limited
     (Case No. 22-90251)                  Limited (Case No. 22-90241)             Limited (Case No. 22-90243)         (Case No. 22-90246)
     Cineworld Elite Picture Theatre     Cineworld Estates Limited                Cineworld Funding (Jersey)          Cineworld Holdings Limited
                                                                                                                 
     (Nottingham) Limited                (Case No. 22-90231)                      Limited (Case No. 22-90235)         (Case No. 22-90240)
     (Case No. 22-90228)
    Cineworld HunCo Kft.               Cineworld South East Cinemas           City Screen (Brighton) Limited      City Screen (Liverpool) Limited
     (Case No. 22-90244)                  Limited (Case No. 22-90209)            (Case No. 22-90214)                  (Case No. 22-90216)
     City Screen (S.O.A.) Limited        City Screen (Stratford) Limited        City Screen (York) Limited          Classic Cinemas Limited
                                      
     (Case No. 22-90218)                 (Case No. 22-90223)                     (Case No. 22-90227)                   (Case No. 22-90230)
      Consolidated Theatres               Crown Finance US, Inc.                  Crown Intermediate Holdco, Inc.      Crown Theatre Corporation
                                                                                                                   
     Management, L.L.C.                (Case No. 22-90188)                      (Case No. 22-90191)                  (Case No. 22-90194)
      (Case No. 22-90180)
     Crown UK HoldCo Limited             CS (Brixton) Limited                   CS (Exeter) Limited                 CS (Norwich) Limited
                                      
     (Case No. 22-90234)                 (Case No. 22-90258)                     (Case No. 22-90259)                  (Case No. 22-90260)
      Eastgate Theatre, Inc.             Edwards Theatres, Inc.                 Empire Cinema 2 Limited             Frederick Plaza Cinema, Inc.
                                      
      (Case No. 22-90195)                (Case No. 22-90198)                     (Case No. 22-90248)                  (Case No. 22-90190)
      Gallery Cinemas Limited            Gallery Holdings Limited               Great Escape LaGrange LLC           Great Escape LLC
                                      
      (Case No. 22-90253)                (Case No. 22-90254)                     (Case No. 22-90206)                  (Case No. 22-90210)
     Great Escape of Nitro, LLC          Great Escape of O'Fallon, LLC           Great Escape Theatres of             Great Escape Theatres of
                                                                                                                   
    (Case No. 22-90221)                (Case No. 22-90226)                     Bowling Green, LLC                   Harrisburg, LLC
                                                                                 (Case No. 22-90232)                  (Case No. 22-90236)
      Great Escape Theatres of           Great Escape Theatres of New            Great Escape Theatres, LLC           Hemel Hepstead Two Cinema
                                                                                                                   
     Lebanon, LLC                      Albany, LLC                             (Case No. 22-90271)                  2 Limited
      (Case No. 22-90239)                (Case No. 22-90242)                                                          (Case No. 22-90255)
     Hollywood Theaters III, Inc.        Hollywood Theaters, Inc                Hoyts Cinemas Corporation           Interstate Theatres Corporation
                                      
     (Case No. 22-90265)                 (Case No. 22-90270)                     (Case No. 22-90261)                  (Case No. 22-90264)
      Lois Business Development          McIntosh Properties, LLC                Newcastle Cinema 2 Limited           Newman Online Limited
                                                                                                                   
     Corporation                       (Case No. 22-90263)                     (Case No. 22-90256)                  (Case No. 22-90257)
      (Case No. 22-90267)
     Next Generation Network, Inc.       Oklahoma Warren Theatres II, LLC            Oklahoma Warren Theatres,          Pacific Rim Business
                                                                                                                   
    (Case No. 22-90268)                (Case No. 22-90262)                         LLC (Case No. 22-90269)            Development Corporation
                                                                                                                        (Case No. 22-90266)
     Picturehouse Bookings Limited         Picturehouse Cinemas Limited         Picturehouse Entertainment            Poole Cinema 2 Limited
                                      
     (Case No. 22-90219)                   (Case No. 22-90225)                   Limited (Case No. 22-90229)            (Case No. 22-90237)
      R.C. Cobb II, LLC                    R.C. Cobb, Inc.                      Ragains Enterprises LLC               RCI/FSSC, LLC
                                      
      (Case No. 22-90204)                  (Case No. 22-90205)                   (Case No. 22-90203)                    (Case No. 22-90192)
      RCI/RMS, LLC                         Regal Cinemas Corporation            Regal Cinemas Holdings, Inc.          Regal Cinemas II, LLC
                                      
      (Case No. 22-90196)                  (Case No. 22-90202)                   (Case No. 22-90186)                    (Case No. 22-90193)
      Regal Cinemas, Inc.                  Regal CineMedia Corporation          Regal CineMedia Holdings, LLC         Regal Distribution Holdings,
                                      
      (Case No. 22-90197)                  (Case No. 22-90199)                   (Case No. 22-90201)                    LLC (Case No. 22-90189)
      Regal Distribution, LLC              Regal Entertainment Group            Regal Entertainment Holdings II       Regal Entertainment Holdings,
                                      
      (Case No. 22-90185)                  (Case No. 22-90181)                   LLC (Case No. 22-90178)                Inc. (Case No. 22-90175)
      Regal Gallery Place, LLC             Regal Investment Company             Regal Licensing, LLC                  Regal Stratford, Inc.
                                      
      (Case No. 22-90173)                  (Case No. 22-90222)                   (Case No. 22-90233)                    (Case No. 22-90238)
      Regal/ATOM Holdings, LLC             Regal/Cinebarre Holdings, LLC        Regal/DCIP Holdings, LLC              Regal-18 LLC
                                      
      (Case No. 22-90183)                  (Case No. 22-90187)                   (Case No. 22-90207)                    (Case No. 22-90200)
      RegalRealty - 17, LLC                Richmond I Cinema, L.L.C.            The Movie Machine, L.L.C.              UA Shor, LLC
                                                                                                                  
     (Case No. 22-90211)                   (Case No. 22-90215)                   (Case No. 22-90174)                    (Case No. 22-90177)
      UA Swansea, LLC                      United Artists Properties I Corp.    United Artists Realty Company         United Artists Theatre Circuit II,
                                      
      (Case No. 22-90179)                  (Case No. 22-90182)                   (Case No. 22-90184)                    LLC (Case No. 22-90208)
     United Artists Theatre Circuit,       United Artists Theatre Company       Valeene Cinemas, LLC                  Wallace Theater Holdings, Inc.
                                      
     Inc. (Case No. 22-90212)              (Case No. 22-90213)                   (Case No. 22-90217)                    (Case No. 22-90220)
     Warren Oklahoma Theatres,
 
     Inc. (Case No. 22-90224)




Modified Form 410
Proof of Claim                                                                                                                                      04/22
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to make a
request for payment of an administrative expense, other than a claim entitled to administrative priority pursuant to 11 U.S.C. § 503(b)(9). Make
such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any documents
that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments, mortgages, and
security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available, explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.




Modified Form 410
                                                                    Proof of Claim                                                         page 1
                  Case 22-90168 Document 656-1 Filed in TXSB on 10/28/22 Page 16 of 37

 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                              Name of the current creditor (the person or entity to be paid for this claim)

                              Other names the creditor used with the debtor

2. Has this claim been           No
   acquired from
   someone else?                 Yes. From whom?


3. Where should notices       Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                    different)
   creditor be sent?
   Federal Rule of
   Bankruptcy Procedure
   (FRBP) 2002(g)




                              Contact phone                                                               Contact phone

                              Contact email                                                               Contact email


4. Does this claim amend         No
   one already filed?            Yes. Claim number on court claims registry (if known)                                        Filed on
                                                                                                                                          MM   / DD   / YYYY


5. Do you know if anyone         No
   else has filed a proof        Yes. Who made the earlier filing?
   of claim for this claim?


 Part 2:     Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number       No
    you use to identify the     Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:           _____ _____ _____ _____
    debtor?


7. How much is the claim?         $                                             . Does this amount include interest or other charges?
                                                                                     No
                                                                                     Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the    Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
    claim?                     Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                               Limit disclosing information that is entitled to privacy, such as health care information.




Modified Form 410
                                                                        Proof of Claim                                                           page 2
                   Case 22-90168 Document 656-1 Filed in TXSB on 10/28/22 Page 17 of 37

9. Is all or part of the claim     No
     secured?                      Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:

                                           Basis for perfection:
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)

                                           Value of property:                           $

                                           Amount of the claim that is secured:        $

                                           Amount of the claim that is unsecured: $                             (The sum of the secured and unsecured
                                                                                                                amounts should match the amount in line 7.)

                                           Amount necessary to cure any default as of the date of the petition:           $

                                           Annual Interest Rate (when case was filed)             %
                                              Fixed
                                              Variable


10. Is this claim based on a       No
    lease?
                                   Yes. Amount necessary to cure any default as of the date of the petition.             $

11. Is this claim subject to a     No
    right of setoff?
                                   Yes. Identify the property:

12. Is all or part of the claim    No
    entitled to priority under
    11 U.S.C. § 507(a)?            Yes. Check one:                                                                                     Amount entitled to priority

    A claim may be partly               Domestic support obligations (including alimony and child support) under
    priority and partly                  11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                     $
    nonpriority. For example,
    in some categories, the             Up to $3,350 of deposits toward purchase, lease, or rental of property or services for
    law limits the amount                personal, family, or household use. 11 U.S.C. § 507(a)(7).                                 $
    entitled to priority.
                                        Wages, salaries, or commissions (up to $15,150) earned within 180 days before the
                                         bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.          $
                                         11 U.S.C. § 507(a)(4).
                                        Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                      $

                                        Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                          $

                                        Other. Specify subsection of 11 U.S.C. § 507(a)(    ) that applies.                        $

13. Is all or part of the          No
    claim entitled to
    administrative priority        Yes. Indicate the amount of your claim arising from the value of any goods received             $ ____________________
    pursuant to                      by the debtor within 20 days before the date of commencement of the above
    11 U.S.C. § 503(b)(9)?           case(s), in which the goods have been sold to the debtor in the ordinary course of
                                     such debtor’s business. Attach documentation supporting such claim.




 Modified Form 410
                                                                    Proof of Claim                                                            page 3
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Part 3:    Sign Below

The person completing          Check the appropriate box:
this proof of claim must          I am the creditor.
sign and date it.
FRBP 9011(b).
                                  I am the creditor’s attorney or authorized agent.
                                  I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
If you file this claim            I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
electronically, FRBP
5005(a)(2) authorizes courts   I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
to establish local rules       amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
specifying what a signature
is.                            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
                               and correct.
A person who files a
fraudulent claim could be      I declare under penalty of perjury that the foregoing is true and correct.
fined up to $500,000,          Executed on date _________________
imprisoned for up to 5
years, or both.                                     MM / DD      /   YYYY
18 U.S.C. §§ 152, 157, and
3571.

                                       Signature
                               Print the name of the person who is completing and signing this claim:

                               Name
                                                   First name                           Middle name                            Last name

                               Title

                               Company
                                                   Identify the corporate servicer as the company if the authorized agent is a servicer.


                               Address
                                                   Number             Street


                                                   City                                                         State          ZIP Code

                               Contact phone                                                                    Email




Modified Form 410
                                                                      Proof of Claim                                                       page 4
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 Instructions for Proof of Claim
 United States Bankruptcy Court                                                                                           12/15


 These instructions and definitions generally explain the law. In certain circumstances, such as bankruptcy cases that debtors do
 not file voluntarily, exceptions to these general rules may apply. You should consider obtaining the advice of an attorney,
 especially if you are unfamiliar with the bankruptcy process and privacy regulations.


   A person who files a fraudulent claim could be fined up
   to $500,000, imprisoned for up to 5 years, or both.
   18 U.S.C. §§ 152, 157 and 3571.




How to fill out this form
                                                                        For a minor child, fill in only the child’s initials and
  Fill in all of the information about the claim as of the                the full name and address of the child’s parent or
    date the case was filed.                                               guardian. For example, write A.B., a minor child (John
                                                                           Doe, parent, 123 Main St., City, State). See Bankruptcy
                                                                           Rule 9037.
  Fill in the caption at the top of the form.


  If the claim has been acquired from someone else,
    then state the identity of the last party who owned the
                                                                      Confirmation that the claim has been filed
    claim or was the holder of the claim and who transferred it
    to you before the initial claim was filed.                       To receive confirmation that the claim has been filed, either
                                                                     enclose a stamped self-addressed envelope and a copy of this
                                                                     form. You may view a list of filed claims in this case by
  Attach any supporting documents to this form.                     visiting the Claims and Noticing Agent's website at
    Attach redacted copies of any documents that show that the       https://cases.ra.kroll.com/cineworld.
    debt exists, a lien secures the debt, or both. (See the
    definition of redaction on the next page.)
                                                                      Understand the terms used in this form
    Also attach redacted copies of any documents that show
                                                                     Administrative expense: Generally, an expense that arises
    perfection of any security interest or any assignments or
                                                                     after a bankruptcy case is filed in connection with operating,
    transfers of the debt. In addition to the documents, a
                                                                     liquidating, or distributing the bankruptcy estate.
    summary may be added. Federal Rule of Bankruptcy
                                                                     11 U.S.C. § 503.
    Procedure (called “Bankruptcy Rule”) 3001(c) and (d).
                                                                     Claim: A creditor’s right to receive payment for a debt that the
  Do not attach original documents because                          debtor owed on the date the debtor filed for bankruptcy. 11
    attachments may be destroyed after scanning.                     U.S.C. §101 (5). A claim may be secured or unsecured.

                                                                     Claim Pursuant to 11 U.S.C. § 503(b)(9): A claim arising from
  If the claim is based on delivering health care goods
                                                                     the value of any goods received by the Debtor within 20 days
    or services, do not disclose confidential health care
                                                                     before the date of commencement of the above case, in which
    information. Leave out or redact confidential
                                                                     the goods have been sold to the Debtor in the ordinary course of
    information both in the claim and in the attached
    documents.
                                                                     the Debtor's business. Attach documentation supporting such
                                                                     claim.
  A Proof of Claim form and any attached documents
    must show only the last 4 digits of any social security
    number, individual’s tax identification number, or
    financial account number, and only the year of any
    person’s date of birth. See Bankruptcy Rule 9037.
                  Case 22-90168 Document 656-1 Filed in TXSB on 10/28/22 Page 20 of 37


Creditor: A person, corporation, or other entity to whom a           Setoff: Occurs when a creditor pays itself with money
debtor owes a debt that was incurred on or before the date the       belonging to the debtor that it is holding, or by canceling a debt
debtor filed for bankruptcy. 11 U.S.C. § 101 (10).                   it owes to the debtor.

Debtor: A person, corporation, or other entity who is in             Unsecured claim: A claim that does not meet the requirements
bankruptcy. Use the debtor’s name and case number as shown           of a secured claim. A claim may be unsecured in part to the
in the bankruptcy notice you received. 11 U.S.C. § 101 (13).         extent that the amount of the claim is more than the value of the
                                                                     property on which a creditor has a lien.
Evidence of perfection: Evidence of perfection of a security
interest may include documents showing that a security interest      Offers to purchase a claim
has been filed or recorded, such as a mortgage, lien, certificate
                                                                     Certain entities purchase claims for an amount that is less than
of title, or financing statement.
                                                                     the face value of the claims. These entities may contact
Information that is entitled to privacy: A Proof of Claim form       creditors offering to purchase their claims. Some written
and any attached documents must show only the last 4 digits of       communications from these entities may easily be confused
any social security number, an individual’s tax identification       with official court documentation or communications from the
number, or a financial account number, only the initials of a        debtor. These entities do not represent the bankruptcy court, the
minor’s name, and only the year of any person’s date of birth. If    bankruptcy trustee, or the debtor. A creditor has no obligation
a claim is based on delivering health care goods or services,        to sell its claim. However, if a creditor decides to sell its claim,
limit the disclosure of the goods or services to avoid               any transfer of that claim is subject to Bankruptcy Rule
embarrassment or disclosure of confidential health care              3001(e), any provisions of the Bankruptcy Code (11 U.S.C. §
information. You may later be required to give more                  101 et seq.) that apply, and any orders of the bankruptcy court
information if the trustee or someone else in interest objects to    that apply.
the claim.
                                                                     Please send completed Proof(s) of Claim to:
Priority claim: A claim within a category of unsecured claims
that is entitled to priority under 11 U.S.C. § 507(a). These         Cineworld Group plc, Claims Processing Center
claims are paid from the available money or property in a            c/o Kroll Restructuring Administration LLC
bankruptcy case before other unsecured claims are paid.              850 Third Avenue, Suite 412
Common priority unsecured claims include alimony, child              Brooklyn, NY 11232
support, taxes, and certain unpaid wages.
                                                                     You may also file your claim electronically at
Proof of claim: A form that shows the amount of debt the             https://cases.ra.kroll.com/cineworld/EPOC-Index.
debtor owed to a creditor on the date of the bankruptcy filing.
The form must be filed in the district where the case is pending.
                                                                    Do not file these instructions with your form
Redaction of information: Masking, editing out, or deleting
certain information to protect privacy. Filers must redact or
leave out information entitled to privacy on the Proof of Claim
form and any attached documents.

Secured claim under 11 U.S.C. § 506(a): A claim backed by
a lien on particular property of the debtor. A claim is secured
to the extent that a creditor has the right to be paid from the
property before other creditors are paid. The amount of a
secured claim usually cannot be more than the value of the
particular property on which the creditor has a lien. Any
amount owed to a creditor that is more than the value of the
property normally may be an unsecured claim. But exceptions
exist; for example, see 11 U.S.C. § 1322(b) and the final
sentence of § 1325(a).
Examples of liens on property include a mortgage on real
estate or a security interest in a car. A lien may be voluntarily
granted by a debtor or may be obtained through a court
proceeding. In some states, a court judgment may be a lien.
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                              Exhibit 2

                       Proposed Bar Date Notice
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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                                    )   Chapter 11
    In re:                                                          )
                                                                    )   Case No. 22-90168 (MI)
    CINEWORLD GROUP PLC, et al.,1                                   )
                                                                    )   (Jointly Administered)
                                      Debtors.                      )
                                                                    )   Re: Docket No. _____

                    NOTICE OF SHORTENED DEADLINES FOR THE FILING OF
                   PROOFS OF CLAIM, INCLUDING REQUESTS FOR PAYMENT
                  PURSUANT TO SECTION 503(b)(9) OF THE BANKRUPTCY CODE

    TO:      ALL PERSONS AND ENTITIES WHO MAY HAVE CLAIMS AGAINST ANY OF THE
             FOLLOWING DEBTOR ENTITIES:

                                        DEBTOR                                                         CASE NO.
    A 3 Theatres of San Antonio, Ltd.                                                                  22-90167
    Cineworld Group plc                                                                                22-90168
    Cinebarre, LLC                                                                                     22-90169
    Busby AssignCo, LLC                                                                                22-90170
    Cinemas Associates, LLC                                                                            22-90171
    Augustus 1 Limited                                                                                 22-90245
    13th Avenue Partners, L.L.C.                                                                       22-90172
    Regal Gallery Place, LLC                                                                           22-90173
    The Movie Machine, L.L.C.                                                                          22-90174
    Regal Entertainment Holdings, Inc.                                                                 22-90175
    A 3 Theatres of Texas, Inc.                                                                        22-90176
    Cineworld Cinemas Holdings Limited                                                                 22-90243
    Cineworld Cinemas Limited                                                                          22-90246
    UA Shor, LLC                                                                                       22-90177
    Cineworld Estates Limited                                                                          22-90231
    Regal Entertainment Holdings II LLC                                                                22-90178
    Cineworld Funding (Jersey) Limited                                                                 22-90235
    UA Swansea, LLC                                                                                    22-90179
    Cineworld Holdings Limited                                                                         22-90240
    Consolidated Theatres Management, L.L.C.                                                           22-90180
    City Screen (Brighton) Limited                                                                     22-90214
    Regal Entertainment Group                                                                          22-90181


1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed
      claims and noticing agent at https://cases.ra.kroll.com/cineworld. The location of Debtor Cineworld Group plc’s principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 8th Floor Vantage London, Great West
      Road, Brentford, England, TW8 9AG, United Kingdom.
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City Screen (Liverpool) Limited                                   22-90216
United Artists Properties I Corp.                                 22-90182
Regal/ATOM Holdings, LLC                                          22-90183
City Screen (S.O.A.) Limited                                      22-90218
City Screen (Stratford) Limited                                   22-90223
United Artists Realty Company                                     22-90184
City Screen (York) Limited                                        22-90227
Regal Distribution, LLC                                           22-90185
Regal Cinemas Holdings, Inc.                                      22-90186
Regal/Cinebarre Holdings, LLC                                     22-90187
Crown Finance US, Inc.                                            22-90188
Regal Distribution Holdings, LLC                                  22-90189
Frederick Plaza Cinema, Inc.                                      22-90190
Crown UK HoldCo Limited                                           22-90234
Crown Intermediate Holdco, Inc.                                   22-90191
RCI/FSSC, LLC                                                     22-90192
Regal Cinemas II, LLC                                             22-90193
Crown Theatre Corporation                                         22-90194
Eastgate Theatre, Inc.                                            22-90195
RCI/RMS, LLC                                                      22-90196
Regal Cinemas, Inc.                                               22-90197
Edwards Theatres, Inc.                                            22-90198
Great Escape LLC                                                  22-90210
Great Escape of Nitro, LLC                                        22-90221
Regal CineMedia Corporation                                       22-90199
Great Escape of O’Fallon, LLC                                     22-90226
Regal-18 LLC                                                      22-90200
Great Escape Theatres of Bowling Green, LLC                       22-90232
Regal CineMedia Holdings, LLC                                     22-90201
Regal Cinemas Corporation                                         22-90202
Great Escape Theatres of Harrisburg, LLC                          22-90236
Great Escape Theatres of Lebanon, LLC                             22-90239
Ragains Enterprises LLC                                           22-90203
R.C. Cobb II, LLC                                                 22-90204
Great Escape Theatres of New Albany, LLC                          22-90242
R.C. Cobb, Inc.                                                   22-90205
Great Escape LaGrange LLC                                         22-90206
Picturehouse Bookings Limited                                     22-90219
Picturehouse Cinemas Limited                                      22-90225
Picturehouse Entertainment Limited                                22-90229
Regal Investment Company                                          22-90222
Regal Licensing, LLC                                              22-90233
Regal Stratford, Inc.                                             22-90238
Regal/DCIP Holdings, LLC                                          22-90207
RegalRealty - 17, LLC                                             22-90211
Richmond I Cinema, L.L.C.                                         22-90215

                                          2
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 Augustus 2 Limited                                                                    22-90247
 Empire Cinema 2 Limited                                                               22-90248
 Basildon Cinema Number Two 2 Limited                                                  22-90249
 United Artists Theatre Circuit II, LLC                                                22-90208
 United Artists Theatre Circuit, Inc.                                                  22-90212
 Bromley Cinema 2 Limited                                                              22-90250
 United Artists Theatre Company                                                        22-90213
 Cine-UK Limited                                                                       22-90251
 Valeene Cinemas, LLC                                                                  22-90217
 Basildon Cinema 2 Limited                                                             22-90252
 Gallery Cinemas Limited                                                               22-90253
 Wallace Theater Holdings, Inc.                                                        22-90220
 Warren Oklahoma Theatres, Inc.                                                        22-90224
 Gallery Holdings Limited                                                              22-90254
 Hemel Hepstead Two Cinema 2 Limited                                                   22-90255
 Classic Cinemas Limited                                                               22-90230
 Newcastle Cinema 2 Limited                                                            22-90256
 Newman Online Limited                                                                 22-90257
 Cineworld Cinema Properties Limited                                                   22-90241
 CS (Brixton) Limited                                                                  22-90258
 CS (Exeter) Limited                                                                   22-90259
 Cineworld Elite Picture Theatre (Nottingham) Limited                                  22-90228
 Cineworld South East Cinemas Limited                                                  22-90209
 CS (Norwich) Limited                                                                  22-90260
 Hoyts Cinemas Corporation                                                             22-90261
 Oklahoma Warren Theatres II, LLC                                                      22-90262
 McIntosh Properties, LLC                                                              22-90263
 Interstate Theatres Corporation                                                       22-90264
 Cineworld HunCo Kft.                                                                  22-90244
 Hollywood Theaters III, Inc.                                                          22-90265
 Pacific Rim Business Development Corporation                                          22-90266
 Lois Business Development Corporation                                                 22-90267
 Poole Cinema 2 Limited                                                                22-90237
 Next Generation Network, Inc.                                                         22-90268
 Oklahoma Warren Theatres, LLC                                                         22-90269
 Hollywood Theaters, Inc                                                               22-90270
 Great Escape Theatres, LLC                                                            22-90271

PLEASE TAKE NOTICE THAT:

        On September 7, 2022 (the “Petition Date”), Cineworld Group plc and certain of its affiliates, as
debtors and debtors in possession (collectively, the “Debtors”), each filed a voluntary petition for relief
under title 11 of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court
for the Southern District of Texas (the “Court”).




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        On [●], 2022 the Court entered an order [Docket No. [●]] (the “Bar Date Order”)2 establishing
certain dates by which parties holding prepetition claims against the Debtors must file proofs of claim,
including requests for payment pursuant to section 503(b)(9) of the Bankruptcy Code (“Proofs of Claim”).

        For your convenience, enclosed with this notice (this “Notice”) is a Proof of Claim form, which
identifies on its face the amount, nature, and classification of your claim(s), if any, listed in the Debtors’
schedules of assets and liabilities filed in these cases (the “Schedules”). If the Debtors believe that you
hold claims against more than one Debtor, you will receive multiple Proof of Claim forms, each of which
will reflect the nature and amount of your claim as listed in the Schedules.

        As used in this Notice, the term “entity” has the meaning given to it in section 101(15) of the
Bankruptcy Code, and includes all persons, estates, trusts, governmental units, and the Office of the United
States Trustee for the Southern District of Texas. In addition, the terms “persons” and “governmental
units” are defined in sections 101(41) and 101(27) of the Bankruptcy Code, respectively.

       As used in this Notice, the term “claim” means, as to or against the Debtors and in accordance
with section 101(5) of the Bankruptcy Code: (a) any right to payment, whether or not such right is reduced
to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
equitable, secured, or unsecured; or (b) any right to an equitable remedy for breach of performance if such
breach gives rise to a right to payment, whether or not such right to an equitable remedy is reduced to
judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or unsecured.

I.       THE BAR DATES.

       The Bar Date Order establishes the following bar dates for filing Proofs of Claim in these
chapter 11 cases (the “Bar Dates”).

                  a.       The Claims Bar Date. Pursuant to the Bar Date Order, except as described below,
                           all entities (except governmental units) holding claims against the Debtors that
                           arose or are deemed to have arisen prior to the commencement of these cases on
                           the Petition Date, including requests for payment pursuant to section 503(b)(9) of
                           the Bankruptcy Code, are required to file Proofs of Claim by Wednesday,
                           December 28, 2022, at 5:00 p.m., prevailing Central Time. Except as expressly
                           set forth in this Notice and the Bar Date Order, the Claims Bar Date applies to all
                           types of claims against the Debtors that arose prior to the Petition Date, including
                           secured claims, unsecured priority claims, and unsecured non-priority claims.

                  b.       The Governmental Bar Date. Pursuant to the Bar Date Order, all governmental
                           units holding claims against the Debtors that arose or are deemed to have arisen
                           prior to the commencement of these cases on the Petition Date are required to
                           file Proofs of Claim by the Governmental Bar Date (i.e., by Monday,
                           March 6, 2023, at 5:00 p.m, prevailing Central Time). The Governmental Bar
                           Date applies to all governmental units holding claims against the Debtors (whether
                           secured, unsecured priority, or unsecured non-priority) that arose prior to the
                           Petition Date, including governmental units with claims against the Debtors for



2    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Bar Date Order.

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                       unpaid taxes, whether such claims arise from prepetition tax years or periods or
                       prepetition transactions to which the Debtors were a party.

               c.      The Rejection Damages Bar Date. Pursuant to the Bar Date Order, all entities
                       holding claims arising from the Debtors’ rejection of executory contracts and
                       unexpired leases are required to file Proofs of Claim by the Rejection Damages Bar
                       Date, (i.e., by the date that is the later of (i) the Claims Bar Date or the
                       Governmental Bar Date, as applicable, and (ii) 5:00 p.m., prevailing Central
                       Time, on the date that is thirty (30) days following entry of the order approving
                       the rejection of the applicable executory contract or unexpired lease of
                       the Debtors).

               d.      Amended Schedules Bar Date. Pursuant to the Bar Date Order, all entities holding
                       claims affected by the amendment to the Debtors’ Schedules are required to file
                       Proofs of Claim by the Amended Schedules Bar Date (i.e., by the date that is the
                       later of (i) the Claims Bar Date or the Governmental Bar Date, as applicable, and
                       (ii) 5:00 p.m., prevailing Central Time, on the date that is thirty (30) days from
                       the date on which the Debtors mail notice of the amendment of the Schedules).

     THE BAR DATES ESTABLISHED BY THE BAR DATE ORDER AND REFERENCED
IN THIS NOTICE SUPERSEDE ANY BAR DATES ESTABLISHED, FILED, NOTICED, OR
PREVIOUSLY SERVED IN THESE CHAPTER 11 CASES.

II.    WHO MUST FILE A PROOF OF CLAIM.

        Except as otherwise set forth herein, the following entities holding claims against the Debtors that
arose (or that are deemed to have arisen) prior to the Petition Date must file Proofs of Claim on or before
the Claims Bar Date, the Governmental Bar Date, or any other applicable bar date set forth in the Bar Date
Order, as applicable:

               a.      any entity whose claim against a Debtor is not listed in the applicable Debtor’s
                       Schedules or is listed as contingent, unliquidated, or disputed if such entity desires
                       to participate in any of these chapter 11 cases or share in any distribution in any of
                       these chapter 11 cases;

               b.      any entity who believes that its claim is improperly classified in the Schedules or
                       is listed in an incorrect amount and who desires to have its claim allowed in a
                       different classification or amount other than that identified in the Schedules;

               c.      any former or present full-time, part-time, salaried, or hourly employees whose
                       claim relates to any grievance, including claims for wrongful termination,
                       discrimination, harassment, hostile work environment, retaliation, and/or unpaid
                       severance, to the extent grounds for such grievances arose on or prior to the Petition
                       Date; provided that current employees of the Debtors are not required to file a Proof
                       of Claim for wages, commissions, benefits, or severance if an order of this Court
                       authorized the Debtors to honor such claim in the ordinary course of business;

               d.      any entity that believes that its prepetition claim as listed in the Schedules is not an
                       obligation of the specific Debtor against which the claim is listed and that desires
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                       to have its claim allowed against a Debtor other than that identified in the
                       Schedules; and

               e.      any entity who believes that its claim against a Debtor is or may be an
                       administrative expense pursuant to section 503(b)(9) of the Bankruptcy Code.

        Wilmington Trust, National Association, as administrative agent under the Settlement Credit
Agreement, is authorized to file a single Proof of Claim pursuant to section 501(a) of the Bankruptcy Code
before the Claims Bar Date on behalf of individual lenders under the Settlement Credit Agreement on
account of such lenders’ claims for the payment of principal, interest, and/or other applicable fees and
charges arising under the Settlement Facility and BNY Mellon Corporate Trustee Services Limited, as
trustee under the Trust Deed with respect to the Convertible Bonds, is authorized to file a single Proof of
Claim pursuant to section 501(a) of the Bankruptcy Code before the Claims Bar Date on behalf of
individual bondholders under the Trust Deed on account of such bondholders’ claims for the payment of
principal, interest, and/or other applicable fees and charges arising under the Trust Deed.

III.   PARTIES WHO DO NOT NEED TO FILE PROOFS OF CLAIM.

        Certain parties are not required to file Proofs of Claim. The Court may, however, enter one or
more separate orders at a later time requiring creditors to file Proofs of Claim for some kinds of the
following claims and setting related deadlines. If the Court does enter such an order, you will receive
notice of it. The following entities holding claims that would otherwise be subject to the Bar Dates, in the
capacities described below, need not file Proofs of Claims:

               a.      the U.S. Trustee, on account of claims for fees payable pursuant to 28 U.S.C.
                       § 1930;

               b.      any entity that already has filed a signed Proof of Claim against the applicable
                       Debtor with the Claims and Noticing Agent in a form substantially similar to
                       Official Form 410 with respect to the claim asserted therein;

               c.      any entity whose claim is listed on the Schedules if: (i) the claim is not scheduled
                       by the Debtors as any of “disputed,” “contingent,” or “unliquidated;” (ii) such entity
                       agrees with the amount, nature, and priority of the claim as set forth in the
                       Schedules; and (iii) such entity does not dispute that its claim is an obligation only
                       of the specific Debtor against which the claim is listed in the Schedules;

               d.      any entity whose claim has previously been allowed by a final order of the Court;

               e.      any Debtor having a claim against another Debtor, or any claim by a non-Debtor
                       subsidiary (whether direct or indirect and whether wholly owned or not) of
                       Cineworld Group plc against any of the Debtors;

               f.      any entity whose claim is solely against any non-Debtor affiliates;

               g.      any entity whose claim has been paid by a Debtor pursuant to a Court order;

               h.      a current employee of the Debtors, if an order of this Court authorized the Debtors
                       to honor such claim in the ordinary course of business as a wage, commission, or
                       benefit; provided that a current employee must submit a Proof of Claim by the
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                    Claims Bar Date for all other claims arising before the Petition Date, including
                    claims for wrongful termination, discrimination, harassment, hostile work
                    environment, and/or retaliation;

             i.     any current or former officer, manager, director, or employee for claims based on
                    indemnification, contribution, or reimbursement;

             j.     any entity holding a claim for which a separate deadline is fixed by this Court;

             k.     any entity holding a claim allowable under sections 503(b) and 507(a)(2) of the
                    Bankruptcy Code as an expense of administration incurred in the ordinary course;
                    provided that any entity asserting a claim entitled to priority under section 503(b)(9)
                    of the Bankruptcy Code must assert such claims by filing a request for payment or
                    a Proof of Claim on or prior to the Claims Bar Date;

             l.     any person or entity that is exempt from filing a Proof of Claim pursuant to an order
                    of the Court in these Chapter 11 Cases, including, without limitation, pursuant to
                    the Order (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and
                    (B) Use Cash Collateral, (II) Granting Liens and Providing Superpriority
                    Administrative Expense Claims, (III) Granting Adequate Protection to Prepetition
                    Secured Parties, (IV) Modifying the Automatic Stay, (V) Scheduling a Final
                    Hearing, and (VI) Granting Related Relief [Docket No. 173] (together with any
                    subsequent interim or final order approving the use of cash collateral and/or
                    postpetition financing, the “DIP Order”);

             m.     any holder of a claim for any fees, expenses, or other obligations arising or payable
                    under the DIP Order; and

             n.     any entity holding an equity interest in any Debtor.

IV.   INSTRUCTIONS FOR FILING PROOFS OF CLAIM.

      The following requirements shall apply with respect to filing and preparing each Proof of Claim:

             a.     Contents. Each Proof of Claim must: (i) be written in legible English; (ii) include
                    a claim amount denominated in United States dollars; (iii) conform substantially
                    with the Proof of Claim Form provided by the Debtors or Official Form 410; and
                    (iv) be signed by the claimant or by an authorized agent or legal representative of
                    the claimant on behalf of the claimant, whether such signature is an electronic
                    signature or is ink.

             b.     Section 503(b)(9) Claim. Any Proof of Claim asserting a claim entitled to priority
                    under section 503(b)(9) of the Bankruptcy Code must also: (i) include the value of
                    the goods delivered to and received by the Debtors in the twenty (20) days prior to
                    the Petition Date; (ii) attach any documentation identifying the particular invoices
                    for which such claim is being asserted; and (iii) attach documentation of any
                    reclamation demand made to the Debtors under section 546(c) of the Bankruptcy
                    Code (if applicable).


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    c.    Electronic Signatures Permitted. Only original Proofs of Claim signed
          electronically or in ink by the claimant or an authorized agent or legal representative
          of the claimant may be deemed acceptable for purposes of claims administration.
          Copies of Proofs of Claim, or Proofs of Claim sent by facsimile or electronic mail,
          will not be accepted.

    d.    Identification of the Debtor Entity. Each Proof of Claim must clearly identify the
          specific Debtor against which a claim is asserted, including the individual Debtor’s
          case number. A Proof of Claim filed under the joint administration case number
          (No. 22-90168 (MI)), or otherwise without identifying a specific Debtor, will be
          deemed as filed only against Regal Cinemas, Inc.

    e.    Claim Against Multiple Debtor Entities. Each Proof of Claim must state a claim
          against only one Debtor and clearly indicate the Debtor against which the claim is
          asserted. To the extent more than one Debtor is listed on the Proof of Claim, such
          claim may be treated as if filed only against Regal Cinemas, Inc.

    f.    Supporting Documentation in Order to Have Prima Facie Validity. In order to
          have prima facie validity, each claim of a type specified in Bankruptcy Rules
          3001(c) and 3001(d) must include supporting documentation. If, however, such
          documentation is voluminous, such Proof of Claim may include a summary of such
          documentation or an explanation as to why such documentation is not available;
          provided that (i) the Proof of Claim contain current contact information for the
          creditor or its designated representative from whom the Debtors may request the
          full supporting documentation and (ii) such party must produce the supporting
          documentation to the Debtors’ counsel upon request no later than ten (10) days
          from the date of such request.

    g.    Timely Service. Each Proof of Claim must be filed or submitted, including
          supporting documentation, through any of the following methods: (i) electronic
          submission through PACER (Public Access to Court Electronic Records at
          https://ecf.txsb.uscourts.gov/), (ii) electronic submission using the interface
          available     on     the   Claims     and     Noticing     Agent’s    website     at
          https://cases.ra.kroll.com/cineworld, or (iii) if submitted through non-electronic
          means, by U.S. mail or other hand delivery system, so as to be actually received by
          the Claims and Noticing Agent on or before the Claims Bar Date, the Governmental
          Bar Date, or other applicable Bar Date, as applicable, at the following address:

                     If by First-Class Mail Hand Delivery or Overnight Mail:
                           Cineworld Group plc Claims Processing Center
                             c/o Kroll Restructuring Administration LLC
                                      850 3rd Avenue, Suite 412
                                        Brooklyn, NY 11232

           PROOFS OF CLAIM SUBMITTED BY FACSIMILE OR ELECTRONIC
                        MAIL WILL NOT BE ACCEPTED.

    h.    Receipt of Service. Claimants submitting a Proof of Claim through non-electronic
          means wishing to receive acknowledgment that their Proofs of Claim were received
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                       by the Claims and Noticing Agent must submit (i) a copy of the Proof of Claim
                       Form (in addition to the original Proof of Claim Form sent to the Claims and
                       Noticing Agent) and (ii) a self-addressed, stamped envelope.

V.     CONSEQUENCES OF FAILING TO TIMELY FILE YOUR PROOF OF CLAIM.

       Pursuant to the Bar Date Order and in accordance with Bankruptcy Rule 3003(c)(2), if you or any
party or entity who is required, but fails, to file a Proof of Claim in accordance with the Bar Date Order
on or before the applicable Bar Date, please be advised that:

               a.      YOU WILL BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM
                       ASSERTING SUCH CLAIM AGAINST THE DEBTORS (OR FILING A PROOF
                       OF CLAIM WITH RESPECT THERETO);

               b.      THE DEBTORS AND THEIR PROPERTY SHALL BE FOREVER
                       DISCHARGED FROM ANY AND ALL INDEBTEDNESS OR LIABILITY
                       WITH RESPECT TO OR ARISING FROM SUCH CLAIM;

               c.      YOU WILL NOT RECEIVE ANY DISTRIBUTION IN THESE CHAPTER 11
                       CASES ON ACCOUNT OF THAT CLAIM; AND

               d.      YOU WILL NOT BE PERMITTED TO VOTE ON ANY PLAN OR PLANS OF
                       REORGANIZATION FOR THE DEBTORS ON ACCOUNT OF THESE
                       BARRED CLAIMS OR RECEIVE FURTHER NOTICES REGARDING
                       SUCH CLAIM.

VI.    RESERVATION OF RIGHTS.

        Nothing contained in this Notice is intended to or should be construed as a waiver of the Debtors’
right to: (a) dispute, or assert offsets or defenses against, any filed claim or any claim listed or reflected
in the Schedules as to the nature, amount, liability, or classification thereof; (b) subsequently designate
any scheduled claim as disputed, contingent, or unliquidated; and (c) otherwise amend or supplement the
Schedules.

VII.   THE DEBTORS’ SCHEDULES AND ACCESS THERETO.

        You may be listed as the holder of a claim against one or more of the Debtor entities in the Debtors’
Schedules. To determine if and how you are listed on the Schedules, please refer to the descriptions set
forth on the enclosed Proof of Claim forms regarding the nature, amount, and status of your claim(s), if
any. If the Debtors believe that you may hold claims against more than one Debtor entity, you will receive
multiple Proof of Claim forms, each of which will reflect the nature and amount of your claim against one
Debtor entity, as listed in the Schedules.

        If you rely on the Debtors’ Schedules, it is your responsibility to determine that the claim is
accurately listed in the Schedules. However, you may rely on the enclosed form, which: (a) sets forth the
amount of your claim (if any) as scheduled; (b) identifies the Debtor entity against which it is scheduled;
(c) specifies whether your claim is listed in the Schedules as disputed, contingent, or unliquidated; and
(d) identifies whether your claim is scheduled as a secured, unsecured priority, or unsecured non-priority
claim.

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        As described above, if you agree with the nature, amount, and status of your claim as listed in the
Debtors’ Schedules, and if you do not dispute that your claim is only against the Debtor entity specified
by the Debtors, and if your claim is not described as “disputed,” “contingent,” or “unliquidated,” you need
not file a Proof of Claim. Otherwise, or if you decide to file a Proof of Claim, you must do so before the
applicable Bar Date in accordance with the procedures set forth in this Notice.

VIII. ADDITIONAL INFORMATION.

        Copies of the Debtors’ Schedules, the Bar Date Order, and other information regarding these
chapter 11 cases are available for inspection free of charge on the Debtors’ website at
https://cases.ra.kroll.com/cineworld. The Schedules and other filings in these chapter 11 cases also are
available for a fee at the Court’s website at https://ecf.txsb.uscourts.gov/. A login identification and
password to the Court’s Public Access to Court Electronic Records (“PACER”) are required to access this
information      and      can     be     obtained    through    the     PACER      Service     Center    at
http://www.pacer.psc.uscourts.gov. Copies of the Schedules and other documents filed in these cases also
may be examined between the hours of 8:00 a.m. and 5:00 p.m., prevailing Central Time, Monday through
Friday, at the office of the Clerk of the Bankruptcy Court, United States Bankruptcy Court for the Southern
District of Texas, United States Courthouse, 515 Rusk Avenue, Houston, Texas 77002.

       If you require additional information regarding the filing of a Proof of Claim, you may contact the
Debtors’ restructuring hotline at: (844) 648-5574 (Toll Free U.S.); or (845) 295-5705 (Non-U.S. Parties).

     A HOLDER OF A POSSIBLE CLAIM AGAINST THE DEBTORS SHOULD CONSULT
 AN ATTORNEY REGARDING ANY MATTERS NOT COVERED BY THIS NOTICE, SUCH
         AS WHETHER THE HOLDER SHOULD FILE A PROOF OF CLAIM.




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                               Exhibit 3

                      Proposed Publication Notice
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                    )   Chapter 11
    In re:                                                          )
                                                                    )   Case No. 22-90168 (MI)
    CINEWORLD GROUP PLC, et al.,1                                   )
                                                                    )   (Jointly Administered)
                                      Debtors.                      )
                                                                    )   Re: Docket No. _____

                  NOTICE OF SHORTENED DEADLINES FOR THE FILING OF
                 PROOFS OF CLAIM, INCLUDING REQUESTS FOR PAYMENT
                PURSUANT TO SECTION 503(b)(9) OF THE BANKRUPTCY CODE

             THE CLAIMS BAR DATE IS WEDNESDAY, DECEMBER 28, 2022, AT 5:00 P.M.
                              (PREVAILING CENTRAL TIME)

                   THE GOVERNMENTAL BAR DATE IS MONDAY, MARCH 6, 2023,
                          AT 5:00 P.M. (PREVAILING CENTRAL TIME)


PLEASE TAKE NOTICE OF THE FOLLOWING:

        Deadlines for Filing Proofs of Claim. On [●], 2022, the United States Bankruptcy Court
for the Southern District of Texas (the “Court”) entered an order [Docket No. [●]] (the “Bar Date
Order”) establishing certain deadlines for the filing of proofs of claim, including requests for
payment under section 503(b)(9) of the Bankruptcy Code (“Proofs of Claim”), in these chapter 11
cases of the following debtors and debtors in possession (collectively, the “Debtors”):

                                       DEBTOR                                             CASE NO.
             A 3 Theatres of San Antonio, Ltd.                                            22-90167
             Cineworld Group plc                                                          22-90168
             Cinebarre, LLC                                                               22-90169
             Busby AssignCo, LLC                                                          22-90170
             Cinemas Associates, LLC                                                      22-90171
             Augustus 1 Limited                                                           22-90245
             13th Avenue Partners, L.L.C.                                                 22-90172
             Regal Gallery Place, LLC                                                     22-90173
             The Movie Machine, L.L.C.                                                    22-90174
             Regal Entertainment Holdings, Inc.                                           22-90175

1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.ra.kroll.com/cineworld. The location of Debtor Cineworld
      Group plc’s principal place of business and the Debtors’ service address in these chapter 11 cases is: 8th Floor
      Vantage London, Great West Road, Brentford, England, TW8 9AG, United Kingdom.
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                       DEBTOR                         CASE NO.
 A 3 Theatres of Texas, Inc.                          22-90176
 Cineworld Cinemas Holdings Limited                   22-90243
 Cineworld Cinemas Limited                            22-90246
 UA Shor, LLC                                         22-90177
 Cineworld Estates Limited                            22-90231
 Regal Entertainment Holdings II LLC                  22-90178
 Cineworld Funding (Jersey) Limited                   22-90235
 UA Swansea, LLC                                      22-90179
 Cineworld Holdings Limited                           22-90240
 Consolidated Theatres Management, L.L.C.             22-90180
 City Screen (Brighton) Limited                       22-90214
 Regal Entertainment Group                            22-90181
 City Screen (Liverpool) Limited                      22-90216
 United Artists Properties I Corp.                    22-90182
 Regal/ATOM Holdings, LLC                             22-90183
 City Screen (S.O.A.) Limited                         22-90218
 City Screen (Stratford) Limited                      22-90223
 United Artists Realty Company                        22-90184
 City Screen (York) Limited                           22-90227
 Regal Distribution, LLC                              22-90185
 Regal Cinemas Holdings, Inc.                         22-90186
 Regal/Cinebarre Holdings, LLC                        22-90187
 Crown Finance US, Inc.                               22-90188
 Regal Distribution Holdings, LLC                     22-90189
 Frederick Plaza Cinema, Inc.                         22-90190
 Crown UK HoldCo Limited                              22-90234
 Crown Intermediate Holdco, Inc.                      22-90191
 RCI/FSSC, LLC                                        22-90192
 Regal Cinemas II, LLC                                22-90193
 Crown Theatre Corporation                            22-90194
 Eastgate Theatre, Inc.                               22-90195
 RCI/RMS, LLC                                         22-90196
 Regal Cinemas, Inc.                                  22-90197
 Edwards Theatres, Inc.                               22-90198
 Great Escape LLC                                     22-90210
 Great Escape of Nitro, LLC                           22-90221
 Regal CineMedia Corporation                          22-90199
 Great Escape of O’Fallon, LLC                        22-90226
 Regal-18 LLC                                         22-90200
 Great Escape Theatres of Bowling Green, LLC          22-90232
 Regal CineMedia Holdings, LLC                        22-90201
 Regal Cinemas Corporation                            22-90202
 Great Escape Theatres of Harrisburg, LLC             22-90236



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                        DEBTOR                          CASE NO.
 Great Escape Theatres of Lebanon, LLC                  22-90239
 Ragains Enterprises LLC                                22-90203
 R.C. Cobb II, LLC                                      22-90204
 Great Escape Theatres of New Albany, LLC               22-90242
 R.C. Cobb, Inc.                                        22-90205
 Great Escape LaGrange LLC                              22-90206
 Picturehouse Bookings Limited                          22-90219
 Picturehouse Cinemas Limited                           22-90225
 Picturehouse Entertainment Limited                     22-90229
 Regal Investment Company                               22-90222
 Regal Licensing, LLC                                   22-90233
 Regal Stratford, Inc.                                  22-90238
 Regal/DCIP Holdings, LLC                               22-90207
 RegalRealty - 17, LLC                                  22-90211
 Richmond I Cinema, L.L.C.                              22-90215
 Augustus 2 Limited                                     22-90247
 Empire Cinema 2 Limited                                22-90248
 Basildon Cinema Number Two 2 Limited                   22-90249
 United Artists Theatre Circuit II, LLC                 22-90208
 United Artists Theatre Circuit, Inc.                   22-90212
 Bromley Cinema 2 Limited                               22-90250
 United Artists Theatre Company                         22-90213
 Cine-UK Limited                                        22-90251
 Valeene Cinemas, LLC                                   22-90217
 Basildon Cinema 2 Limited                              22-90252
 Gallery Cinemas Limited                                22-90253
 Wallace Theater Holdings, Inc.                         22-90220
 Warren Oklahoma Theatres, Inc.                         22-90224
 Gallery Holdings Limited                               22-90254
 Hemel Hepstead Two Cinema 2 Limited                    22-90255
 Classic Cinemas Limited                                22-90230
 Newcastle Cinema 2 Limited                             22-90256
 Newman Online Limited                                  22-90257
 Cineworld Cinema Properties Limited                    22-90241
 CS (Brixton) Limited                                   22-90258
 CS (Exeter) Limited                                    22-90259
 Cineworld Elite Picture Theatre (Nottingham) Limited   22-90228
 Cineworld South East Cinemas Limited                   22-90209
 CS (Norwich) Limited                                   22-90260
 Hoyts Cinemas Corporation                              22-90261
 Oklahoma Warren Theatres II, LLC                       22-90262
 McIntosh Properties, LLC                               22-90263
 Interstate Theatres Corporation                        22-90264



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                                 DEBTOR                                      CASE NO.
       Cineworld HunCo Kft.                                                   22-90244
       Hollywood Theaters III, Inc.                                           22-90265
       Pacific Rim Business Development Corporation                           22-90266
       Lois Business Development Corporation                                  22-90267
       Poole Cinema 2 Limited                                                 22-90237
       Next Generation Network, Inc.                                          22-90268
       Oklahoma Warren Theatres, LLC                                          22-90269
       Hollywood Theaters, Inc                                                22-90270
       Great Escape Theatres, LLC                                             22-90271

        The Bar Dates. Pursuant to the Bar Date Order, all entities (except governmental units),
including individuals, partnerships, estates, and trusts that have a claim or potential claim against
the Debtors that arose prior to September 7, 2022, no matter how remote or contingent such right
to payment or equitable remedy may be, including requests for payment under section 503(b)(9)
of the Bankruptcy Code, MUST FILE A PROOF OF CLAIM on or before Wednesday,
December 28, 2022, at 5:00 p.m., prevailing Central Time (the “Claims Bar Date”).
Governmental entities that have a claim or potential claim against the Debtors that arose prior to
September 7, 2022, no matter how remote or contingent such right to payment or equitable remedy
may be, MUST FILE A PROOF OF CLAIM on or before Monday, March 6, 2023, at 5:00 p.m.,
prevailing Central Time (the “Governmental Bar Date”). All entities holding claims arising from
the Debtors’ rejection of executory contracts and unexpired leases are required to file Proofs of
Claim by the date that is the later of (a) the Claims Bar Date or the Governmental Bar Date, as
applicable, and (b) the date that is thirty (30) days following entry of the order approving the
Debtors’ rejection of the applicable executory contract or unexpired lease (the “Rejection
Damages Bar Date”). All entities holding claims affected by an amendment to the Debtors’
schedules of assets and liabilities filed in these cases (the “Schedules”) are required to file Proofs
of Claim, by the later of (i) the Claims Bar Date or the Governmental Bar Date, as applicable,
and (ii) 5:00 p.m., prevailing Central Time, on the date that is thirty (30) days from the date on
which the Debtors mail notice of the amendment of the Schedules (the “Amended Schedules
Bar Date”).

THE BAR DATES ESTABLISHED BY THE BAR DATE ORDER AND REFERENCED
IN THIS NOTICE SUPERSEDE ANY BAR DATES ESTABLISHED, FILED, NOTICED,
OR PREVIOUSLY SERVED IN THESE CHAPTER 11 CASES.

ANY PERSON OR ENTITY WHO FAILS TO FILE A PROOF OF CLAIM, INCLUDING
ANY REQUEST FOR PAYMENT UNDER SECTION 503(B)(9) OF THE BANKRUPTCY
CODE, ON OR BEFORE THE CLAIMS BAR DATE OR THE GOVERNMENTAL BAR
DATE, AS APPLICABLE, SHALL NOT BE TREATED AS A CREDITOR WITH
RESPECT TO SUCH CLAIM FOR THE PURPOSES OF VOTING AND DISTRIBUTION
ON ANY CHAPTER 11 PLAN.




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        Filing a Proof of Claim. Each Proof of Claim must be filed or submitted, including
supporting documentation, through any of the following methods: (a) electronic submission
through PACER (Public Access to Court Electronic Records at http://ecf.txsb.uscourts.gov/),
(b) electronic submission using the interface available on the Claims and Noticing Agent’s website
at https://cases.ra.kroll.com/cineworld, or (c) if submitted through non-electronic means, by U.S.
mail or other hand delivery system, so as to be actually received by the Claims and Noticing Agent
on or before the Claims Bar Date, the Governmental Bar Date, or any other applicable Bar Date,
as applicable at the following address:

                   If by First-Class Mail Hand Delivery or Overnight Mail:
                         Cineworld Group plc Claims Processing Center
                           c/o Kroll Restructuring Administration LLC
                                    850 3rd Avenue, Suite 412
                                      Brooklyn, NY 11232

        Contents of Proofs of Claim. Each Proof of Claim must: (a) be written in legible English;
(b) include a claim amount denominated in United States dollars; (c) clearly identify the specific
Debtor against which the claim is asserted; (d) conform substantially with the Proof of Claim form
provided by the Debtors or Official Form 410; (e) be signed by the claimant or by an authorized
agent or legal representative of the claimant on behalf of the claimant, whether such signature is
an electronic signature or is ink; and (f) include as attachments any and all supporting
documentation on which the claim is based. Please note that each Proof of Claim must state a
claim against only one Debtor and clearly indicate the specific Debtor against which the claim is
asserted. To the extent more than one Debtor is listed on the Proof of Claim, a Proof of Claim is
treated as if filed only against Regal Cinemas, Inc., or if a Proof of Claim is otherwise filed without
identifying a specific Debtor, the Proof of Claim may be deemed as filed only against Regal
Cinemas, Inc..

       Electronic Signatures Permitted. Proofs of Claim signed electronically or in ink by the
claimant or an authorized agent or legal representative of the claimant may be deemed acceptable
for purposes of claims administration. Copies of Proofs of Claim, or Proofs of Claim sent by
facsimile or electronic mail, will not be accepted.

        Section 503(b)(9) Requests for Payment. Any Proof of Claim that asserts a right to
payment arising under section 503(b)(9) of the Bankruptcy Code must also: (a) include the value
of the goods delivered to and received by the Debtors in the twenty (20) days prior to the Petition
Date; (b) attach any documentation identifying the particular invoices for which such claim is
being asserted; and (c) attach documentation of any reclamation demand made to the Debtors under
section 546(c) of the Bankruptcy Code (if applicable).

        Additional Information. If you have any questions regarding the claims process and/or
you wish to obtain a copy of the Bar Date Notice, a proof of claim form or related documents you
may do so by: (a) calling the Debtors’ restructuring hotline at (844) 648-5574 (Toll Free U.S.); or
(845) 295-5705 (Non-U.S. Parties); and/or (b) visiting the Debtors’ restructuring website at:
https://cases.ra.kroll.com/cineworld.




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